Case 5:05-cv-60162-JCO-VMM ECF No. 75, PageID.338 Filed 06/20/07 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


LEMUEL BROWN,

        Plaintiff,
                                              Case No. 05-60162
v.
                                              Hon. John Corbett O’Meara
CITY OF DETROIT, et al.,                      Hon. Virginia M. Morgan

      Defendants.
________________________/


                          AMENDED ORDER ADOPTING MAGISTRATE
                          JUDGE’S REPORT AND RECOMMENDATION
                          AND DISMISSING PLAINTIFF’S COMPLAINT

        On October 30, 2006, the court adopted Magistrate Judge Virginia M. Morgan’s

September 11, 2006 report and recommendation. Magistrate Morgan recommended that the

court grant the City of Detroit’s motion to dismiss and dismiss Plaintiff’s complaint in its

entirety. Plaintiff did not timely object to the report and recommendation, because he did not

timely receive it from the court. As a result, this court provided Plaintiff with the opportunity to

re-file his objections.

        Plaintiff filed his objections on June 14, 2007, primarily challenging the dismissal of his

claims arising under the Freedom of Information Act (“FOIA”). The court dismissed Plaintiff’s

FOIA claim because the federal statute, which Plaintiff invoked in his Amended Complaint, does

not apply to state or local governments or agencies. See 5 U.S.C. § 551(1). Plaintiff now

contends that he can state a claim under Michigan’s Freedom of Information Act, M.C.L. §

15.231. Plaintiff did not, however, plead such a claim in his Amended Complaint. Further,

Michigan’s FOIA expressly does not permit prisoners to request governmental information.
Case 5:05-cv-60162-JCO-VMM ECF No. 75, PageID.339 Filed 06/20/07 Page 2 of 2




M.C.L. 15.231 (applies to “all persons, except those persons incarcerated in state or local

correctional facilities”). As a prisoner, Plaintiff is excluded from the rights afforded to others

under the Michigan FOIA. Accordingly, Plaintiff cannot state a Michigan FOIA claim.

       For these reasons, as well as those set forth by Magistrate Judge Morgan in her

September 11, 2006 report and recommendation, IT IS HEREBY ORDERED that the report and

recommendation is ADOPTED and that Plaintiff’s complaint is DISMISSED WITH

PREJUDICE.

                                               s/John Corbett O’Meara
                                               United States District Judge


Dated: June 20, 2007




I hereby certify that a copy of the foregoing document was served upon the parties of record on
this date, June 20, 2007, by electronic and/or ordinary mail.


                                               s/William Barkholz
                                               Case Manager




                                                 -2-
